                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )       No. 3:11-00012-21
v.                                                    )       Judge Sharp
                                                      )
CORNEL OLIVER [21]                                    )
                                                      )


                                            ORDER


       Pending before the Court is Defendant’s Notice of Intent to Enter Guilty Plea and Request

for Plea Hearing (Docket No. 2547).

       According, a plea hearing in this matter is hereby set for Friday, June 12, 2015, at 9:30 a.m.

       IT IS SO ORDERED.



                                                      ________________________________
                                                      KEVIN H. SHARP
                                                      UNITED STATES DISTRICT JUDGE




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